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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


                              CRIMINAL NO. 14-10067-RWZ


                             UNITED STATES OF AMERICA

                                              v.

                                   FATHALLA MASHALI


                                          ORDER

                                       July 26, 2017


ZOBEL, S.D.J.

       AND NOW, this 26th day of July 2017, upon motion of both parties, it is hereby

ORDERED pursuant to 18 U.S.C. § 4241, that the defendant, Fathalla Mashali, is

committed to a Bureau of Prisons facility or institution to undergo a complete mental

evaluation. A report of the evaluation shall be prepared by the Examiner and filed with

the court within 30 days of the date of his arrival at the institution designated or within

any period of extension granted by the court.

       It is further ORDERED that this Order is effective and the defendant be

transported to the institution designated for such evaluation upon the designation

thereof.

       The court requests that the Bureau of Prisons designate the nearest institution,

FMC-Devens, to conduct this evaluation.

       July 26, 2017                                           /s/Rya W. Zobel
            DATE                                               RYA W . ZOBEL
                                                   SENIOR UNITED STATES DISTRICT JUDGE
